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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

 UNITED STATES OF AMERICA

 VS.                                                     CASE NO: 6:06-cr-125-Orl-22KRS

 MARTICUS S. WASHINGTON


                                    ORDER AND NOTICE
                                 OF SHOW CAUSE HEARING

        This cause comes before the Court on a Report and Recommendation (Doc. No. 1871),

 entered by the Magistrate Judge after conducting a Final Probation Revocation Hearing pursuant

 to Local Rule 6.01(c)(16) on August 14, 2013.

        After an independent de novo review of the record in this matter, and noting that no

 objections were filed, the Court agrees entirely with the findings of fact and conclusions of law

 in the Report and Recommendation.

        Therefore, it is ORDERED as follows:

        1.      The Report and Recommendation entered August 15, 2013 (Doc. No. 1871), is

 ADOPTED and CONFIRMED and made a part of this Order.

        2.      Defendant shall personally appear before this court on THURSDAY, September

 19, 2013, at 9:00 A.M., at the George C. Young U.S. Courthouse & Federal Building, 401 W.

 Central Boulevard, Sixth Floor, Courtroom 6A, Orlando, Florida, 32801, and shall show cause

 why supervised release should not be revoked.

        DONE and ORDERED in Chambers, Orlando, Florida on August 30, 2013.
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 Copies furnished to:

 Counsel of Record
 United States Magistrate Judge
 United States Marshals Service
 United States Probation Office
 Courtroom Deputy
 Marticus S. Washington




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